              Case 2:11-cr-00296-WBS Document 177 Filed 06/10/14 Page 1 of 2


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 7
                                     IN THE UNITED STATES DISTRICT COURT
 8
                                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                             CASE NO. 2:11-CR-00296 WBS
11
                                          Plaintiff,       STIPULATION AND [PROPOSED] ORDER
12                                                         CONTINUING IMPOSITION OF JUDGMENT &
                               v.                          SENTENCING
13
     MANUEL HERRERA,                                       DATE: JULY 7, 2014
14                                                         TIME: 9:30 A.M.
                                          Defendant.       JUDGE: WILLIAM B. SHUBB
15

16
                                                       STIPULATION
17
            Plaintiff United States of America, by and through its counsel of record, and defendant Manuel
18
     Herrera, by and through his counsel of record, hereby stipulate that the status concerning judgment and
19
     sentencing date in the matter presently set for July 7, 2014, at 9:30 a.m. should be vacated and the matter
20
     continued to December 8, 2014, at 9:30 a.m. for a status conference regarding the imposition of
21
     judgment and sentencing. The trial in this case of Mr. Herrera’s co-defendants is set for April 21, 2015.
22
     Probation does not object.
23
     IT IS SO STIPULATED.
24
     DATED: June 6, 2014                                    BENJAMIN B. WAGNER
25                                                          United States Attorney
26                                                          /s/ Lee S. Bickley
                                                            LEE S. BICKLEY
27                                                          Assistant United States Attorney
28                                                          For the UNITED STATES OF AMERICA
     Stipulation to Continue Sentencing                     1
30
              Case 2:11-cr-00296-WBS Document 177 Filed 06/10/14 Page 2 of 2


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 2 DATED: June 6, 2014                                    /s/ Lee S. Bickley for
                                                          JOHN MANNING
 3
                                                          For defendant MANUEL HERRERA
 4

 5                                          [PROPOSED] O R D E R

 6
            IT IS SO FOUND AND ORDERED that for good cause appearing from the stipulation of the
 7
     parties that the status conference for judgment and sentencing in this matter currently scheduled for 9:30
 8

 9 a.m. on July 7, 2014, is vacated and the matter is continued to December 8, 2014, at 9:30 a.m. for the
10 imposition of judgment and sentence.

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     Dated: June 9, 2014
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     Stipulation to Continue Sentencing                  2
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